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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

  SUMMER HOLMES, on behalf of herself
  and all others similarly situated,

                              Plaintiff,

  vs.                                            Case No. 3:18-cv-1193-J-39JRK

  MILLER, STARK, KLEIN & ASSOCIATES,

                        Defendant.
  _____________________________________/

                                           ORDER

         This cause is before the Court on the Motions to Admit Counsel Pro Hac Vice (Doc.

  Nos. 7, 8; “Motions”), both filed October 22, 2018. In the Applications, Mr. Obergfell and Mr.

  Arisohn seek permission to appear pro hac vice on behalf of Plaintiff and seek to have Scott

  Bursor act as local counsel. Motions at 1-2. Rule 2.02(a) provides in part that a “member

  of the bar of this Court, resident in Florida,” shall be designated as an attorney “upon whom

  all notices and papers may be served and who will be responsible for the progress of the

  case, including the trial in default of the non-resident attorney.” Although Mr. Bursor is a

  member of the this Court’s bar, it appears he is resident in New York. Accordingly, it is

         ORDERED:

         The Motions to Admit Counsel Pro Hac Vice (Doc. Nos. 7, 8) are DENIED without

  prejudice to Mr. Obergfell and Mr. Arisohn designating local counsel who is a resident in

  Florida.

         DONE AND ORDERED at Jacksonville, Florida on October 25, 2018.
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  mdc
  Copies to:
  Counsel of Record




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